Case: 3:23-cv-00072-GFVT-EBA           Doc #: 46 Filed: 10/10/24         Page: 1 of 12 - Page
                                         ID#: 647



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  CENTRAL DIVISION
                                     FRANKFORT


MID-AMERICA MILLING COMPANY,
LLC, et al.,

              Plaintiffs,

       v.                                                       Case No. 3:23-cv-00072-GFVT

UNITED STATES DEPARTMENT
OF TRANSPORTATION, et al.,

            Defendants.
______________________________________________________________________________

                        PLAINTIFFS’ MOTION TO CLARIFY
                     SCOPE OF THE PRELIMINARY INJUNCTION

                  EXPEDITED CONSIDERATION REQUESTED
______________________________________________________________________________

       Plaintiffs move to clarify the Court’s order dated September 23, 2024, enjoining

Defendants from enforcing the DBE Program’s race and gender preferences for “contracts

impacted by DBE goals upon which the Plaintiffs bid.” ECF 44:27. Plaintiffs respectfully request

expedited consideration for the reasons explained below.




                                                   1
Case: 3:23-cv-00072-GFVT-EBA              Doc #: 46 Filed: 10/10/24          Page: 2 of 12 - Page
                                            ID#: 648



                                        INTRODUCTION

        Plaintiffs perform milling and hauling services on federal highway projects in at least 23

states. This should be no surprise to Defendants: In the preliminary stages of this case, Plaintiffs’

outlined in detail the scope of their work. See, e.g., ECF 27-2 ¶¶ 7–10 (MAMCO’s scope of work);

ECF 27-3 ¶ 2 (Bagshaw’s scope of work). For example, in briefing, Plaintiffs explained that

“MAMCO ‘regularly’ bids on milling ‘contracts impacted by the federal DBE program’ not only

in the states of Kentucky and Indiana (which impose race- and gender-conscious DBE goals), but

also in at least 21 other states, many of which also employ race- and gender-conscious DBE goals.”

ECF 40:21 (citations omitted).

        Although Plaintiffs asked for a nationwide injunction, Plaintiffs also acknowledged that if

this Court were to order a more limited remedy, the preliminary injunction should protect Plaintiffs

when they are bidding federal DBE contracts in “at least, the 23 states in which Plaintiffs regularly

bid DBE contracts.” Id.

        The Court appeared to agree with the latter option, selecting a remedy “limited to the parties

before the Court.” ECF 44:27. Thus, the Court enjoined Defendants from enforcing the DBE

Program’s race and gender preferences to the extent those preferences impact the contracts upon

which Plaintiffs bid. See id. The Court’s order reads as follows: “The United States Department of

Transportation, Peter Buttigieg, Shailen Bhatt, Todd Jeter, and any successors in office, are

ENJOINED from mandating the use of race- and gender-based rebuttable presumptions for

United States Department of Transportation contracts impacted by DBE goals upon which the

Plaintiffs bid.” Id.

        Despite this language, Defendants now claim that the Court only intended to apply the

injunction to federal DBE contracts that Plaintiffs bid in Indiana and Kentucky. Plaintiffs disagree

and believe the Court’s order is clear: the preliminary relief applies to Plaintiffs wherever
                                                      2
Case: 3:23-cv-00072-GFVT-EBA              Doc #: 46 Filed: 10/10/24          Page: 3 of 12 - Page
                                            ID#: 649



Defendants mandate the use of race- and gender-based preferences for USDOT contracts

“impacted by DBE goals upon which Plaintiffs bid.”

       To date, Defendants are complying with the preliminary injunction only for federal DBE

contracts that Plaintiffs bid through the departments of transportation in Indiana and Kentucky.

See Ex. D to Decl. of Cara Tolliver (Defendants’ Letter to Plaintiffs, dated October 12, 2024).

Defendants have refused to implement the Court’s preliminary injunction for federal DBE

contracts that Plaintiffs bid through other state departments of transportation, including those for

West Virginia and Pennsylvania. See id.

       As explained below, Plaintiffs submitted to Defendants, a list of specific federal DBE

contracts that Plaintiffs intended to bid through the state departments of transportation in Kentucky

and Indiana. In turn, Defendants appropriately notified local officials in Indiana and Kentucky that

these specified contracts should not have federal DBE participation goals, and the states complied.

However, after that initial exercise, Defendants rejected Plaintiffs’ listings of federal DBE

contracts that they intended to bid in Pennsylvania and West Virginia. Defendants claim that this

Court’s order does not cover Plaintiffs bids for federal DBE contracts in those states.

       Plaintiffs believe that the Court’s order applies to Plaintiffs wherever Plaintiffs bid on

federal contracts impacted by Defendants’ DBE Program. There is no reason why the preliminary

injunction should apply to Plaintiffs in Indiana, but not Pennsylvania; and in Kentucky, but not

West Virginia.

       Plaintiffs request clarification, and expedited consideration, on the Court’s preliminary

relief order because the contracts that Plaintiffs plan to bid are being impacted by the federal DBE




                                                     3
Case: 3:23-cv-00072-GFVT-EBA                Doc #: 46 Filed: 10/10/24            Page: 4 of 12 - Page
                                              ID#: 650



Program today, this week, next week, and for the foreseeable future. 1 Every day and week that

goes by, Plaintiffs continue to be deprived of their constitutional right to equal treatment, as

mandated by this Court’s order.

                                           BACKGROUND

        On September 23, 2024, this Court determined that “Plaintiffs will likely win on the merits

of their constitutional claims” and that “Plaintiffs are entitled to a preliminary injunction.” ECF

44:24, 25. The Court carefully considered the question of “how far … that injunction [should]

reach” and determined that “redressability in the present case is properly limited to the parties

before the Court.” ECF 44:25–27.

        On September 25, 2024, the parties met and conferred by Zoom conference regarding the

implementation of the Court’s preliminary injunction. Decl. of Cara Tolliver ¶ 3. In order to afford

equal access to Plaintiffs for those federal DBE contracts Plaintiffs wish to bid and ensure that no

race or gender-based discrimination reaches Plaintiffs when bidding these contracts, the parties

began outlining their agreement on an implementation plan. Id. This plan generally involves a

series of steps in which Plaintiffs first identify and communicate to Defendants a specific listing

of federal DBE contracts that Plaintiffs intend to bid as noticed and offered through state or local

agencies. Id.; see also Ex. A to Decl. of Cara Tolliver p. 8 (Emails between counsel regarding

implementation of the preliminary injunction). Defendants then work with those state or local

entities to remove the federal DBE goals for those contracts specifically identified by Plaintiffs


        1
           Indeed, as explained herein, Plaintiff MAMCO has already lost an equal opportunity to compete
for federal DBE contracts in October 8 and 10 lettings offered through the departments of transportation in
Pennsylvania and West Virginia. See, e.g., Ex. D to Decl. of Cara Tolliver. Further, beginning on October
18 and carrying through mid-December, MAMCO expects to bid federal DBE contracts offered through
state or local transportation departments in the states of Missouri, Mississippi, Iowa, Virginia, Ohio, New
Jersey, Tennessee, Arkansas, North Carolina, Illinois, and West Virginia. E.g., Second Declaration of K.
Koetter ¶¶ 3–5.

                                                        4
Case: 3:23-cv-00072-GFVT-EBA              Doc #: 46 Filed: 10/10/24          Page: 5 of 12 - Page
                                            ID#: 651



and communicate these contract updates to Plaintiffs and the relevant stakeholders. Decl. of Cara

Tolliver ¶ 3; see also Ex. A to Decl. of Cara Tolliver p. 8.

       On September 25, 2024—that same day—Plaintiffs began identifying and submitting to

Defendants specific federal DBE contracts that they planned to bid through the Indiana Department

of Transportation (“INDOT”) for an October 9 contract letting date. Ex. A to Decl. of Cara

Tolliver, p. 9; Ex. B to Decl. of Cara Tolliver (Plaintiffs’ bidding plans for federal DBE contracts

offered through INDOT).

       On October 2, 2024, Plaintiffs requested an update regarding the status of the federal DBE

contracts that Plaintiffs had identified for the October 9 INDOT letting. Ex. A to Decl. of Cara

Tolliver, p. 5–6. As part of that communication, Plaintiffs notified Defendants that, consistent with

anticipated public release dates for various contracting notices, Plaintiffs soon expected to identify

and send along new federal DBE contracts that they intended to bid in upcoming lettings through

transportation departments in Illinois, Ohio, and elsewhere. Id.

       On October 4, 2024, Plaintiff MAMCO submitted its bidding plans to Defendants for a

specific listing of federal DBE contracts offered through the state departments of transportation

for Pennsylvania, West Virginia, and Kentucky. The Pennsylvania and West Virginia notices

indicated contract letting dates for October 8 and October 10. Ex. A to Decl. of Cara Tolliver, p.

4–5; Ex. C to Decl. of Cara Tolliver (MAMCO’s bidding plans for federal DBE contracts offered

through Pennsylvania, West Virginia, and Kentucky).

       On October 7, 2024, Plaintiffs requested a response from Defendants regarding the status

of Plaintiffs’ identified DBE contracts, including the Pennsylvania and West Virginia lettings,

which were about to occur on October 8 and October 10. Ex. A to Decl. of Cara Tolliver, p. 3.

Defendants responded with final updates regarding Plaintiffs’ identified federal DBE contracts



                                                      5
Case: 3:23-cv-00072-GFVT-EBA              Doc #: 46 Filed: 10/10/24          Page: 6 of 12 - Page
                                            ID#: 652



that would be let through INDOT and further confirmed that Defendants would be working with

the Kentucky Transportation Cabinet (“KYTC”) regarding those federal DBE contracts that

Plaintiffs had identified for an upcoming KYTC letting. Id. However, as to Plaintiff MAMCO’s

identified bidding plans for DBE contracts that Pennsylvania and West Virginia would offer at

October 8 and 10 lettings, Defendants noted that they were working “to prepare a response

regarding the contracts [Plaintiffs] have identified in other states.” Id.

       On October 8, 2024, Plaintiffs responded to Defendants’ update on the “other states,”

advising that if Defendants intended to refuse to honor the preliminary injunction for Plaintiffs’

identified federal DBE contracts, Plaintiffs would seek immediate clarification from the Court as

to the scope of the preliminary injunction. Ex. A to Decl. of Cara Tolliver, p. 1. In response,

Defendants issued a letter to Plaintiffs confirming that Defendants “will not be taking any action

with respect to the contracts [Plaintiffs] have identified in Pennsylvania and West Virginia” and

that US-DOT “will not seek to remove DBE participation goals from federally-funded DOT

contracts in states other than Kentucky and Indiana, including in Pennsylvania and West Virginia,

absent express direction from the Court that expands the scope of the injunction beyond Indiana

and Kentucky.” Ex. D to Decl. of Cara Tolliver.

       On October 9, 2024, the parties met and conferred by telephone conference, concurring

that the parties disagree on the proper and intended scope of the Court’s preliminary injunction.

Decl. of Cara Tolliver ¶ 4. Plaintiffs confirmed that this motion would follow. Id.

       On October 9, 2024, Plaintiff MAMCO identified a listing of specific federal DBE

contracts that are expected to be let on November 8 through the Illinois Department of

Transportation (“IDOT”). Decl. of Cara Tolliver ¶ 9; Ex. E to Decl. of Cara Tolliver (MAMCO’s

bidding plans for federal DBE contracts offered through IDOT). Given the ongoing dispute



                                                       6
Case: 3:23-cv-00072-GFVT-EBA              Doc #: 46 Filed: 10/10/24          Page: 7 of 12 - Page
                                            ID#: 653



between the parties regarding the scope of the preliminary injunction, Plaintiffs have not yet shared

this listing with Defendants. Decl. of Cara Tolliver ¶ 9.

       In addition, MAMCO continuously monitors for federal contracting opportunities it plans

to bid. See Second Declaration of K. Koetter ¶¶ 3–5. Beyond the federal DBE contracts that

Plaintiff MAMCO intends to bid through IDOT, from now until mid-December, MAMCO will

likely bid, or seek to bid, federal DBE contracts from state or local transportation departments in

the following states: Missouri, Mississippi, Iowa, Virginia, Ohio, New Jersey, Tennessee,

Arkansas, North Carolina, Illinois, and West Virginia. Second Declaration of K. Koetter ¶ 5.

Contract letting dates for these projects commence as soon as October 18, 2024. Id.

       Plaintiff MAMCO has already lost an equal opportunity to compete for federal DBE

contracts in Pennsylvania and West Virginia for the October 8 and 10 lettings. See, e.g., Ex. D to

Decl. of Cara Tolliver; Second Declaration of K. Koetter ¶ 6. Moreover, because Defendants have

confirmed that they will not honor the preliminary injunction for the federal DBE contracts that

Plaintiffs specifically identify outside the states of Kentucky and Indiana, Plaintiffs will certainly

not be afforded their constitutional rights to compete equally (without regard to race or gender) for

those federal DBE contracts that they plan to bid elsewhere.

                                           ARGUMENT

       Plaintiffs believe that this Court has already properly considered the question regarding the

“reach” of the preliminary injunction. See ECF 44:25–27. In explaining that “an injunction limited

to the parties can adequately protect the plaintiffs’ interests while the case is pending disposition

on the merits,” the Court’s preliminary ruling clearly indicates that “redressability in the present

case is properly limited to the parties before the Court.” ECF 44:27. Accordingly, the Court’s




                                                      7
Case: 3:23-cv-00072-GFVT-EBA             Doc #: 46 Filed: 10/10/24          Page: 8 of 12 - Page
                                           ID#: 654



concluding order indicates that the ruling applies to “contracts impacted by DBE goals upon which

the Plaintiffs bid.” Id.

        Despite the Court’s clear statements and analysis indicating that the preliminary injunction

is to be as-applied “to the parties before the Court,” id., Defendants assert that the issued

preliminary relief to Plaintiffs is somehow further limited to the states of Indiana and Kentucky.

See Ex. D to Decl. of Cara Tolliver.

        To be sure, the Court did briefly reference Kentucky and Indiana as two “states within

which [Plaintiffs] operate.” ECF 44:27. And while it is true that Plaintiffs do operate in Kentucky

and Indiana, Plaintiffs—and Plaintiff MAMCO, in particular—also operate in many other states,

bidding and performing federal contracts impacted by the DBE Program. Indeed, the Court’s

opinion discusses Plaintiffs’ testimonies on those “further detail[s]” regarding Plaintiffs’ regular

bidding activities on federal DBE contracts. See ECF 44:8 (discussing and citing Plaintiffs’

declarations, ECF 27-2 and 27-3). Those sworn declarations speak to, among other things, the

states in which Plaintiffs most frequently bid federal DOT contracts. For example, Plaintiff

MAMCO explains that it bids and performs this work not only in Indiana and Kentucky, but also

in numerous other states—among them, Tennessee, Arkansas, and Ohio, and also in Mississippi,

Delaware, Alabama, Louisiana, Virginia, Oklahoma, South Carolina, West Virginia, Missouri,

Illinois, North Carolina, Georgia, Michigan, Iowa, Kansas, Minnesota, Texas, and Florida. ECF

27-2 ¶¶ 9–10. See also Second Declaration of K. Koetter ¶¶ 2–5; Ex. C & E to Decl. of C. Tolliver.

        There is no fundamental difference in the evidence presented to the Court between the

DBE-infected contracts that Plaintiffs bid in Kentucky and Indiana, and the DBE-infected

contracts that Plaintiffs bid in other states. Plaintiff MAMCO bids federal DBE contracts in those

other states, and those other states impose Defendants’ race and gender presumptions through the



                                                     8
Case: 3:23-cv-00072-GFVT-EBA              Doc #: 46 Filed: 10/10/24           Page: 9 of 12 - Page
                                            ID#: 655



DBE program, causing the same constitutional harms that are caused when Plaintiffs bids these

contracts in Kentucky and Indiana.

       Said differently, the implementation of the Court’s preliminary injunction applies to

Plaintiffs when they bid federal DBE contracts in states outside Kentucky and Indiana in the same

way that it applies to Plaintiffs when they bid these contracts in Kentucky and Indiana. While

Defendants misunderstand the Court’s discussion of “broad relief” and “nationwide injunctions,”

the Court explained exactly what it meant in declining to grant the broad relief of a nationwide

injunction. See ECF 44:25–27. These terms regarding such broader relief merely refer to an

expansive preliminary injunction that would not be “limited to the parties before the Court” but

would instead issue sweeping relief to “non-part[ies].” ECF 44:27.

       However, instead of issuing a nationwide injunction applying to non-parties, the Court

ordered a limited, as-applied preliminary injunction for “contracts impacted by DBE goals upon

which the Plaintiffs bid” because this relief “can adequately protect the plaintiffs’ interests while

the case is pending disposition on the merits.” ECF 44:27. This remedy does not become any less

as-applied to the parties simply because it extends to the parties wherever the parties are engaged

in contracting under the federal DBE Program. In fact, in order to afford “adequate protect[ion]”

to Plaintiffs, the preliminary injunction must necessarily apply to Plaintiffs bidding federal DBE

contracts in Kentucky in the same way it applies to Plaintiffs bidding federal DBE contracts in

West Virginia and other states.

       Defendants’ view on the scope of the preliminary injunction seeks to impose additional

geographical limitations that are nonsensical, have no basis in fact or law, and would continue to

deprive Plaintiffs of their constitutional right to equal protection—all in spite of the Court’s ruling

that “Plaintiffs are entitled to a preliminary injunction” against the “likely” unconstitutional race



                                                      9
Case: 3:23-cv-00072-GFVT-EBA             Doc #: 46 Filed: 10/10/24           Page: 10 of 12 - Page
                                            ID#: 656



and gender-based discrimination Defendants impose through the federal DBE Program. ECF

44:24–25.

       Contrary to Defendants’ assertions, the limiting principle of an as-applied injunction is that

it is “limited to the parties before the Court.” ECF 44:27. The parties before the Court are federal

Defendants and Plaintiffs; the at-issue program is the federal DBE Program. Indiana and Kentucky

are not parties to this action, and an arbitrary geographical limitation to those states makes little

sense against the fact that Defendants operate their DBE Program throughout the country in the

multiple states that Plaintiff MAMCO operates its business. E.g., Ex. C & Ex. E to Decl. of Cara

Tolliver; ECF 27-2 ¶¶ 7–10. If “Plaintiffs are entitled to a preliminary injunction” as to

Defendants’ implementation of the federal DBE program, then Plaintiffs are entitled to relief “for

United States Department of Transportation contracts impacted by DBE goals upon which the

Plaintiffs bid” regardless of where those federal contracts are offered. ECF 44:25, 27.

       The facts of this case coupled with the Court’s analysis regarding the scope of the

preliminary injunction and the text of its resulting order do not invite arbitrary geographical

limitations that would impede the application of the preliminary injunction to Plaintiffs as they

attempt to receive equal consideration on bids for federal DBE contracts. Rather, an as-applied

preliminary injunction adheres to the parties wherever they are engaged in the challenged conduct

so that a plaintiff’s interests can be “adequately protect[ed] … while the case is pending disposition

on the merits.” ECF 44:27.

       Plaintiff MAMCO has already lost opportunities to compete equally for federal DBE

contracts in Pennsylvania and West Virginia through lettings held on October 8 and 10. See, e.g.,

Ex. D to Decl. of Cara Tolliver; Second Declaration of K. Koetter ¶ 6. Plaintiffs expect to continue

identifying those specific federal DBE contracts that they plan to bid in the states in which they



                                                     10
Case: 3:23-cv-00072-GFVT-EBA            Doc #: 46 Filed: 10/10/24           Page: 11 of 12 - Page
                                           ID#: 657



operate—Kentucky, Indiana, and others—as these opportunities are monitored on “a daily and

weekly basis.” E.g., Second Declaration of K. Koetter ¶¶ 3–5; ECF 27-2 ¶¶ 7–10; Ex. A to Decl.

of Cara Tolliver p. 4, 6; Ex. B, Ex. C & Ex. E to Decl. of Cara Tolliver. Indeed, Plaintiff MAMCO

has identified a host of upcoming lettings, commencing as soon as October 18, in which it plans

to bid federal projects. Second Declaration of K. Koetter ¶ 5.

       In the absence of further clarification from the Court as to the scope of the preliminary

injunction applying to Plaintiffs, Plaintiffs will continue to be deprived of the preliminary

injunction they were granted and will, accordingly, continue to be deprived of their constitutional

right to compete for federal DBE contracts without regard to race and gender.

                                         CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court clarify the scope of

the preliminary injunction and issue an expedited ruling on the matter, limiting any response time

for Defendants to two business days.




                                                    11
Case: 3:23-cv-00072-GFVT-EBA     Doc #: 46 Filed: 10/10/24      Page: 12 of 12 - Page
                                    ID#: 658



      Dated: October 10, 2024.

                                     WISCONSIN INSTITUTE FOR
                                     LAW & LIBERTY, INC.
                                     s/ Cara Tolliver
                                     Richard M. Esenberg (WI Bar No. 1005622)
                                     Daniel P. Lennington (WI Bar No. 1088694)
                                     Cara M. Tolliver (WI Bar No. 1112818)
                                     330 East Kilbourn Avenue, Suite 725
                                     Milwaukee, WI 53202
                                     Telephone: (414) 727-9455
                                     Rick@will-law.org
                                     Dan@will-law.org
                                     Cara@will-law.org

                                     COMMONWEALTH COUNSEL GROUP, PLLC
                                     Jason M. Nemes (KBA# 90546)
                                     Greg Healey (KBA# 99546)
                                     10343 Linn Station Road, Suite 100
                                     Louisville, KY 40223
                                     jason@ccgattorneys.com
                                     greg@ccgattorneys.com

                                     Attorneys for Plaintiffs




                                           12
